Case: 1:25-cr-00062-SL Doc #: 1 Filed: 02/20/25 1 of 2. PagelD #: 1

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF OHIO FER 200
EASTERN DIVISION 025

UNITED STATES OF AMERICA, ) INDICTMENT
Plaintiff,
\ > 1225 CR 00062
) CASENO,
CHESTOM PALLET, ) Title 21, United States Code,
RALPH MONTILLA, ) Sections 841(a)(1), (b)(L)B),
) and 846
Defendants. JUDGE Lil

COUNT 1
(Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances,
21 U.S.C. § 846)
The Grand Jury charges:

1, Beginning on or about December 1, 2024, and continuing through on or about
January 29, 2025, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendants
CHESTOM PALLET and RALPH MONTILLA did unlawfully, knowingly, and intentionally
combine, conspire, confederate, and agree together and with each other, and with diverse others
known and unknown to the Grand Jury, to possess with the intent to distribute 500 grams or
more of a mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 846, 841(a)(1) and
(b)()@).

COUNT 2
(Possession with Intent to Distribute Cocaine, 21 U.S.C. §§ 841(a)(1) and (b)(1)(B)

The Grand Jury further charges:
2. On or about January 29, 2025, in the Northern District of Ohio, Eastern Division,
Defendant CHESTOM PALLET did knowingly and intentionally possess with intent to

distribute 500 grams or more of a mixture and substance containing a detectable amount of
Case: 1:25-cr-00062-SL Doc #: 1 Filed: 02/20/25 2 of 2. PagelD #: 2

cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Sections
841(a)(1) and (b)(1)(B).

FORFEITURE

The Grand Jury further charges:

3. For the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853, the allegations of Counts 1 and 2 are incorporated herein by reference. As a result
of the foregoing offenses, Defendants CHESTOM PALLET and RALPH MONTILLA shall
forfeit to the United States any and all property constituting or derived from any proceeds
obtained directly or indirectly as a result of such violations; and any and all property used or
intended to be used in any manner or part to commit or to facilitate the commission of such

violations.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
